   Case 08-14631-GMB           Doc 31    Filed 03/18/08 Entered 03/18/08 17:34:17           Desc Main
                                        Document      Page 1 of 3

                                                                                    3/18/2008
    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY

    MARK E. FELGER (MF9985)
    JERROLD N. POSLUSNY (JP7140)
    COZEN O’CONNOR
    LibertyView, Suite 300
    457 Haddonfield Road
    Cherry Hill, NJ 08002
    (856) 910-5000
    Proposed Attorneys for the Debtors

    In re:                                                    Case No. 08-14631
    SHAPES/ARCH HOLDINGS L.L.C., et al.,
                                                              Judge: Gloria M. Burns
                    Debtors.
                                              Chapter: 11
      INTERIM ORDER AUTHORIZING BUT NOT DIRECTING PAYMENT OF PRE-PETITION
     WAGES, SALARIES, COMPENSATION, EMPLOYEE BENEFIT, REIMBURSABLE
     BUSINESS EXPENSES, CERTAIN UNION PAYMENTS AND THE CONTINUATION
      OF THE DEBTORS’ WORKERS’ COMPENSATION PROGRAM AND POLICIES
                 PURSUANT TO 11 U.S.C. §§ 105(a), 507(a)(4) AND (5)
             The relief set forth on the following pages, numbered two (2) through three (3) is hereby

    ORDERED.




DATED: 3/18/2008
Case 08-14631-GMB            Doc 31     Filed 03/18/08 Entered 03/18/08 17:34:17                  Desc Main
                                       Document      Page 2 of 3
Page 2

Arch/Shapes Holdings L.L.C., et al.

Case No. 08-


Order Authorizing But Not Directing Payment of Pre-Petition Wages, Salaries, Compensation, Employee Benefit,
Reimbursable Business Expenses, Certain Union Payments and the Continuation of the Debtors’ Workers’
Compensation Program and Policies Pursuant To 11 U.S.C. §§ 105(a), 507(a)(4) And (5)


         Upon consideration the verified motion (the “Motion”)1 of the above-captioned debtors

and debtors-in-possession (the “Debtors”), for an Order authorizing but not directing the Debtors

to pay employee compensation obligations as a priority claim under section 507(a)(4) and (5);

and notice being sufficient under the circumstances; and such relief being necessary to assure

that operation of Debtors’ businesses will not be disrupted and that their value as a going-

concern will not be impaired, it is ORDERED:

         1.      That the Motion is GRANTED on an interim basis..

         2.      That the Debtors are hereby authorized to pay all Accrued Wage Claims and all as

more fully described in the Motion.

         3.      That to the extent any pre-petition payroll checks are not honored, the Debtors are

hereby authorized to issue replacement checks to honor the unpaid amounts.

         4.      That the Debtors are authorized but not directed to honor the Union Benefits and

make all Union Payments.

         5.      That the Debtors are authorized but not directed to honor the Non-Union Benefits.

         6.      That to the extent any non-union Employee would be entitled to Unpaid Non-

Union Wages and Unpaid Non-Union Benefits in excess of $10,950, the Debtors may honor

vacation and sick time in the ordinary course of business, but shall not “cash-out” those benefits

without further order of the Court.



1
  Unless otherwise defined herein, all capitalized terms shall have the meanings ascribed to them
in the Motion.


                                                      2

                                                                 Approved by Judge Gloria M. Burns March 18, 2008
Case 08-14631-GMB            Doc 31     Filed 03/18/08 Entered 03/18/08 17:34:17                  Desc Main
                                       Document      Page 3 of 3
Page 3

Arch/Shapes Holdings L.L.C., et al.

Case No. 08-


Order Authorizing But Not Directing Payment of Pre-Petition Wages, Salaries, Compensation, Employee Benefit,
Reimbursable Business Expenses, Certain Union Payments and the Continuation of the Debtors’ Workers’
Compensation Program and Policies Pursuant To 11 U.S.C. §§ 105(a), 507(a)(4) And (5)

         7.      That the Debtors are authorized to pay the Withholding Taxes to the appropriate

governmental authorities.

         8.      That Debtors are authorized but not directed to maintain their Workers’

Compensation Program.

         9.      That Debtors are authorized but not directed to reimburse Employees for their

Employee Business Expenses.

         10.     That the Debtors are authorized to honor the Garnishments properly served upon

the Debtors.

         11.     That Debtors are hereby authorized to issue new checks to replace any dishonored

checks issued prepetition to pay the claims subject to the Motion.

         12.     That, except as is set forth in paragraph 6, above, the payment made to or for the

benefit of any Employee is limited to the statutory cap set forth in 11 U.S.C. §§ 507(a)(4)

and (5).

         13.     That nothing in this Order shall be construed to indicate Debtors have assumed or

rejected any executory contracts or leases, and Debtors’ rights regarding assumption or rejection

of executory contracts and leases are reserved.

         14.     That Debtors are hereby authorized and empowered to take such actions as may

be necessary and appropriate to implement the terms of this Order.

         15.    A Final Hearing on this matter shall be heard on 4/3/2008 at 10:00 am if objections
are filed. If no objections are filed by 4/2/2008, this order will become final.
CHERRY_HILL\430490\2




                                                      3

                                                                 Approved by Judge Gloria M. Burns March 18, 2008
